

Matter of Briscoe (2025 NY Slip Op 01697)





Matter of Briscoe


2025 NY Slip Op 01697


Decided on March 20, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 20, 2025

PM-75-25
[*1]In the Matter of Romiesha Jodie-Ann Briscoe, an Attorney. (Attorney Registration No. 5530597.)

Calendar Date:March 17, 2025

Before:Garry, P.J., Aarons, Reynolds Fitzgerald, McShan and Mackey, JJ.

Romiesha Jodie-Ann Briscoe, Bloomfield, Connecticut, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Romiesha Jodie-Ann Briscoe was admitted to practice by this Court in 2017 and lists a business address in Windsor, Connecticut with the Office of Court Administration. Briscoe now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Briscoe's application.
Upon reading Briscoe's affidavit sworn to February 25, 2025 and filed February 28, 2025, and upon reading the March 11, 2025 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Briscoe is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Aarons, Reynolds Fitzgerald, McShan and Mackey, JJ., concur.
ORDERED that Romiesha Jodie-Ann Briscoe's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Romiesha Jodie-Ann Briscoe's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Romiesha Jodie-Ann Briscoe is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Briscoe is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Romiesha Jodie-Ann Briscoe shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








